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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION


JUAN ZAPIEN-PACHECO,

        Movant,

V.                                              Case No. CV416-152
                                                         CE413-129
UNITED STATES OF AMERICA,

        Repoudent.


                                 ORDER
        After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as th'nion of the

Court.

         I•ILL 113 of iza



                                    LISA GODBEY WOOD, CHIEF JUDGE
                                    UNiTED STATES DISTRICT. COURT
                                    SOUTHERN DISTRICT OF GEORGIA
